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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                            Case No. 2:23-md-3080 (BRM)(RLS)

 IN RE: INSULIN PRICING                     MDL No. 3080
 LITIGATION



 This Document Relates to:
                                            ORAL ARGUMENT REQUESTED
 The State of Mississippi, ex rel. Lynn
 Fitch, Attorney General v. Eli Lilly and
 Company, et al.
 Case No. 2:23-cv-04364 (BRM)(RLS)

               MANUFACTURER DEFENDANTS’ NOTICE OF
              MOTION FOR JUDGMENT ON THE PLEADINGS
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 TO: All Persons on the ECF Service List

 COUNSEL:

       PLEASE TAKE NOTICE that Defendants Eli Lilly and Company, Novo

 Nordisk Inc., and Sanofi-Aventis U.S. LLC (collectively, “Manufacturers”), by and

 through their respective undersigned counsel, shall move before the Honorable Brian

 R. Martinotti, U.S.D.J., at a date and time to be determined by the Court, at the

 United States District Court for the District of New Jersey, 50 Walnut Street,

 Newark, New Jersey, for an Order, pursuant to Federal Rule of Civil Procedure 12,

 entering judgment on the pleadings.

       PLEASE TAKE FURTHER NOTICE that in support of this Motion,

 Manufacturers will rely on the Memorandum of Law in Support of Motion for

 Judgment on the Pleadings, the Declaration of Andrew Yaphe and exhibit submitted

 herewith, along with any further submission on reply.

       PLEASE TAKE FURTHER NOTICE that a proposed form of order is

 submitted herewith.

       PLEASE TAKE FURTHER NOTICE that Manufacturers hereby request

 oral argument.




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  Dated: June 7, 2024

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                          CERTIFICATE OF SERVICE

       I certify that I am an Attorney at Law of the State of New Jersey and a Member

 of the Bar of this Court and that on this date I caused a copy of this document to be

 served on all counsel of record in the above-captioned matter via ECF filing.


                                                  /s/ Brian W. Carroll
                                                  Brian W. Carroll

  Dated: June 7, 2024
         Newark, New Jersey




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